Case 2:21-cv-01412-ART-EJY   Document 437-14   Filed 01/06/25   Page 1 of 4




              EXHIBIT G
     2014.11.05 Dance Life Article
Principal Dusty Button Talks Inspiration, Motivation, and Her Passions Outside the Dance World – Dance Life
                     Case 2:21-cv-01412-ART-EJY                      Document 437-14                Filed 01/06/25           Page 2 of 4
                                                                                                                                               
            SHARE                              READ ON MOBILE                                                            EXIT READING MODE   




           Principal Dusty Button Talks Inspiration, Motivation, and
           Her Passions Outside the Dance World


           Posted on November 5, 2014           by Amy Omernik

             ADVICE         BALLERINA            BALLET         BOSTON BALLET              DANCE        DANCER          FEATURED

             INTERVIEW            MODEL         PROFESSIONAL

             INTERVIEWS            WE ASKED




           Boston Ballet’s Dusty
        Site is using a trial version of the theme. Please enter your purchase code in theme settings to activate it or purchase this wordpress
                                                                       theme here
                                                                                                                                          Follow


https://dancelife.co/principal-dusty-button-talks-inspiration-motivation-and-her-passions-outside-the-dance-world/[11/20/2024 1:05:27 PM]
Principal Dusty Button Talks Inspiration, Motivation, and Her Passions Outside the Dance World – Dance Life
                     Case 2:21-cv-01412-ART-EJY                      Document 437-14                Filed 01/06/25           Page 3 of 4


           Button has recently been
           promoted to Principal!                                                                                         Follow Dance
           We wanted to                                                                                                   Life
           congratulate her on this                                                                                       Get every new post on
           tremendous                                                                                                     this blog delivered to
                                                                                                                          your Inbox.
           accomplishment and ask a
                                                                                                                          Join other followers:
           few questions about her
                                                                                                                           Enter email address
           life both as a dancer and
           outside of the dance                                                                                                         Sign me up!




           world.
           When and where did you start dancing?
           I feel that I was born a dancer but actually began the journey that lead to my career at the age of 7 in Myrtle Beach,
           South Carolina.

           How long have you been with Boston Ballet and were you with any companies prior?
           I joined the Boston Ballet family in 2012 and prior to this I was with Birmingham Royal Ballet.  I worked with ABT
           Studio Company prior to my decision to move to London to train at the Royal Ballet School.

           Congrats again on being promoted to Principal! Tell us a little about what the road to this
           accomplishment was like for you.
           My Principal title is the goal that I desired the most and what fueled my passion since the inception of this journey.  I
           believe that the journey of reaching my goals can always be summed up with one word and that word is
           “perseverance.” We must always persevere for the sake of evolving the art form in which we all love so much.

           What parts of your job other than performing do you enjoy? Teaching, choreographing,
           etc.?
           I enjoy every dimension of my work and it is because of this that I feel I have not worked a day in my life.  I believe
           that one of our best accomplishments is being invested into a career that never feels like a “job”.  I ultimately love
           performing for the same reasons that I love teaching and choreographing…inspiring others to live their life to the
           fullest.  Every aspect of this career gives us the opportunity to inspire someone and so I think that is the best gift that
           you can be given. I love the ability to give rather than the feeling of being in the spotlight.

           You have an amazing following on social media! What made you decide to share personal
           life moments with your fans and how has it affected you?

           I believe that this industry can easily sweep us off our feet and blind us to the reality that dance can very well be a
           passion, even a lifestyle but it doesn’t have to be our lives.  We only live once and I want to live 100% of my given


https://dancelife.co/principal-dusty-button-talks-inspiration-motivation-and-her-passions-outside-the-dance-world/[11/20/2024 1:05:27 PM]
Principal Dusty Button Talks Inspiration, Motivation, and Her Passions Outside the Dance World – Dance Life
                     Case 2:21-cv-01412-ART-EJY                      Document 437-14                Filed 01/06/25           Page 4 of 4
           life so I immerse myself into as many interests and passions as possible.  Social media is an excellent outlet to show
           that there are many fulfilling dimensions to life and living these only adds character. In the end it is our character
           that defines us.

           What are some of your hobbies outside of dance?
           I am fortunate to be well traveled but feel myself grow as an individual with every destination.  I love understanding
           other cultures so traveling is a “hobby” of sorts that I find important for one’s character.  My husband is a
           connoisseur and collector of exotic cars and motorcycles so I have more recently attached to this “vice” with him as
           we bought our first Ferrari together and curating this collection has taught me the history of a brilliant industry and
           a form of art that I have gained a large respect for.  Aside from the typical vices that we all have I enjoy decorating
           our home, what I call our “heaven on earth.” No utopia is complete without video games so I have to be honest in
           saying that I am addicted to Call of Duty!  I plan to shed more light on my hobbies with the launch of my new
           website this month, www.WORLDOFDUSTY.com.

           Our fans have described you as a great role model for young dancers. Who was your role
           model growing up and why?
           Albert Einstein once said “everyone should be respected as an individual, but no one idolized”.  I have always found
           truth in this and respect every artist therefore the sometimes dark path that we must take to succeed was well lit for
           me by the inspiration of all artists.  I love all of my supporters and whether I have inspired 1 or 1,000,000 I am most
           proud of this honor.

           What are some of your long term goals and where do you hope your dance career takes
           you?
           I love diving into new atmospheres so I plan to continue choreographing and guesting as my career evolves as I
           would love the opportunity to perform with various companies such as The Royal Ballet, Paris Opera, San Francisco
           Ballet and many others to further mature as an artist.   While I can clearly see my current plans I feel fortunate to be
           blind to where this path will take me as I want my long term accomplishments and the future of my career to be
           something that has yet to be defined by a dancer…I want to write these pages.




https://dancelife.co/principal-dusty-button-talks-inspiration-motivation-and-her-passions-outside-the-dance-world/[11/20/2024 1:05:27 PM]
